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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         4:07CR3111
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )         ORDER
TODD LEE CUNNINGHAM, JR.,                      )
                                               )
                    Defendant.                 )

      IT IS ORDERED that:


      (1)    The government’s request for hearing (filing 92) is granted.


      (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 90) has been set before the undersigned United States district judge on
Tuesday, April 3, 2010, at 1:00 p.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.


      (3)    Defense counsel shall make the telephone arrangements with the Bureau
of Prisons. Defense counsel shall then provide the undersigned’s chambers with the
contact information (including name and telephone number) of the Bureau of Prison’s
official the courtroom deputy should call the day and time of the hearing.


      (4)    The Marshal is directed not to return the defendant to the district.


      (5)    The defendant is held to have waived his right to be present.


      Dated March 28, 2012.


                                            BY THE COURT:

                                            Richard G. Kopf
                                            Senior United States District Judge
